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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA

 v.                                   Case No. 4:98CR00091 (14) JMM

 RODNEY DEWAYNE FLOYD


                                             ORDER

        Before the Court is Defendant’s pro se Motion which the Court has interpreted as a

 Motion for Retroactive Application of Sentencing Guidelines to Crack Cocaine Offense made

 pursuant to the 2007 “Crack Cocaine Guideline Amendment.” Defendant contends that he is

 entitled to a reduction of his sentence pursuant to 18 U.S.C. § 3582(c)(2) based upon the

 retroactive application of the crack cocaine penalty reduction imposed by the United States

 Sentencing Commission, effective March 3, 2008.1 The Court also interprets his motion to

 request appointed counsel to assist him in seeking a sentencing reduction. The Court has

 reviewed Defendant’s case to determine whether he is eligible for a sentence reduction. Based

 upon such review, the Court concludes that Defendant is not eligible for a sentence reduction.

 Accordingly, the motion will be denied (#1782).

        Not every person sentenced for a crack cocaine offense is eligible for consideration for a

 sentence reduction.2 Only those persons currently serving a sentence determined or affected by a

 sentencing range calculated using the drug quantity table, U.S.S.C. § 2D1.1, are potentially


        1
          See United States Sentencing Commission Sentencing Guidelines, Amendment 706
 (reducing the guideline range for crack cocaine offenses, effective November 1, 2007) and
 Amendment 711 (making Amendment 706 retroactive, effective March 3, 2008).
        2
        See, generally, U.S.S.G. § 1B1.10, Reduction in Term of Imprisonment as a Result of
 Amended Guideline Range (Policy Statement)(March 3, 2008).

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 eligible. Even then, there are some defendants for whom the recalculated guideline range, using

 amended § 2D1.1, will be equal to the original guideline range. In such cases, the defendant’s

 guideline range is not lowered as a result of the retroactive amendment, and there is no basis for

 the Court to consider whether to exercise its discretion to grant a sentence reduction. U.S.S.G. §

 1B1.10 (a)(1).

        Defendant is not eligible for a sentence reduction because he was sentenced to 360

 months based upon his designation as a career offender. Consequently his guideline range was

 determined by U.S.S.G. § 4B1.1 and the amendment to U.S.S.G. § 2D1.1 has no effect on

 defendant’s guideline range. See United States v. Thomas, 524 F.3d 889 (8th Cir. 2008) (per

 curiam) (“Sentencing Commission lowered offense levels in USSG § 2D1.1(c) related to crack

 cocaine drug quantities, it did not lower sentencing range for career offenders under USSG §

 4B1.1.”).



                                       CONCLUSION

        Because the Defendant was sentenced as a career offender he is not eligible for a

 reduction of his term of imprisonment under Amendment 706, thus, there is no basis to appoint

 counsel.

        IT IS SO ORDERED THIS          19    day of June, 2008.




                                               __________________________________
                                               UNITED STATES DISTRICT JUDGE




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